   Case: 1:20-cv-01036 Document #: 54 Filed: 06/22/20 Page 1 of 2 PageID #:2159




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


   General Tools & Instruments, LLC,

           Plaintiff,                                      Case No.: 1:20-cv-01036

   v.                                                      Judge Jorge L. Alonso

   THE PARTNERSHIPS AND                                    Magistrate Judge Susan E. Cox
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                     DEFENDANT
                419                              Adike Clearance Promotion



DATED: June 21, 2020                                 Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     111 West Jackson Boulevard, Suite 1700
                                                     Chicago, Illinois 60604
                                                     Telephone: 312-675-6079
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01036 Document #: 54 Filed: 06/22/20 Page 2 of 2 PageID #:2160




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 21, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
